Case 2:20-cv-09555-RGK-E Document 80 Filed 05/26/22 Page 1 of 1 Page ID #:1879




                      UNITED STATES COURT OF APPEALS                       FILED
                             FOR THE NINTH CIRCUIT                          MAY 26 2022
                                                                        MOLLY C. DWYER, CLERK
                                                                         U.S. COURT OF APPEALS
 A. B.; et al.,                                   No.   21-56221

                  Plaintiffs-Appellees,           D.C. No.
                                                  2:20-cv-09555-RGK-E
   v.                                             Central District of California,
                                                  Los Angeles
 REGENTS OF THE UNIVERSITY OF
 CALIFORNIA; JAMES MASON HEAPS,                   ORDER

                  Defendants-Appellees,

   v.

 JANE LS DOE; et al.,

                  Movants-Appellants.



        Pursuant to the stipulation of the parties (Docket Entry No. 14), this appeal

 is voluntarily dismissed. Fed. R. App. P. 42(b). The parties shall bear their own

 costs and attorneys’ fees on appeal.

        A copy of this order shall serve as and for the mandate of this court.

                                               FOR THE COURT:

                                               By: Steven J. Saltiel
                                               Circuit Mediator




 Mediation
